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 8
                        UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10
                                 EASTERN DIVISION
11
12   DANIELLE GAMINO, individually and on     Case No.: 5:20-cv-01126-SB-SHK
     behalf of all others similarly situated,
13                                            [Consolidated with
                   Plaintiff,                 Case No.: 5:21-cv-01466-SB-SHK]
14
           v.
15
     SPCP GROUP, LLC,                       PLAINTIFF’S REPLY IN
16                                          SUPPORT OF PLAINTIFF’S
                 Defendant                  MOTION FOR CLASS
17                                          CERTIFICATION
     and
18                                          Hearing set for April 8, 2022
     KPC HEALTHCARE, INC.,                  8:30 a.m.
19   EMPLOYEE STOCK OWNERSHIP
     PLAN,                                  Hon. Stanley Blumenfeld, Jr.
20                                          Courtroom 6C
                  Nominal Defendant
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28
     REPLY ISO CLASS CERT                                                       1
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 1 I.      INTRODUCTION
 2         In opposing class certification, Defendant SPCP Group, LLC (“SPCP”)
 3 challenges only one element of Rule 23 – whether Ms. Gamino is an adequate
 4 representative. ECF No. 241 (“Opp.”) at 1. SPCP’s only argues that Ms. Gamino
 5 has insufficient knowledge and understanding of the single claim against SPCP
 6 (but does not suggest lack of zeal or any conflict). Id. at 1, 7-9. As SPCP
 7 acknowledges, this Court previously found that Ms. Gamino was an adequate
 8 representative for the related claims against the other Defendants, including that
 9 “she had a sufficient understanding of her claims” in a “complex ERISA case”
10 alleging violations that involved “technicalities of securities transactions and
11 corporate valuation.” Gamino v. KPC Healthcare Holdings, Inc., 5:20-CV-01126-
12 SB-SHK, 2021 WL 7081190, at *5, 6 (C.D. Cal. Aug. 6, 2021). As this Court
13 recognized in consolidating the case against SPCP and in denying the motion to
14 dismiss, the claim in SPCP is related to the claims against the other defendants and
15 one of the elements of the claim against SPCP requires proving that one of the
16 other defendants violated ERISA. Gamino v. SPCP Grp., LLC, 5:21-CV-01466-
17 SB-SHK, 2022 WL 336469, at *2, 3 (C.D. Cal. Feb. 2, 2022). As a result, Ms.
18 Gamino has adequate knowledge of the violation that underlies the claim against
19 SPCP.
20         Nonetheless, SPCP essentially repeats the same legal arguments previously
21 rejected by this Court to argue that while Ms. Gamino had sufficient understanding
22 the complex claims against the other defendants, she has insufficient knowledge
23 about the claims against SPCP to serve as a class representative. Compare Gamino,
24 2021 WL 7081190, at *5-6 with Opp. at 6-10. In support of its argument, SPCP
25 ignores the standard articulated by this Court and instead cites cases where the
26 plaintiffs had no knowledge of the case or the factual basis of the claim. Id. at 6-7,
27 11-12. SPCP then selectively quotes portions of Ms. Gamino’s deposition, while
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 1 ignoring the portions where she is able to articulate not only the legal theory of the
 2 claim, but also provides a cogent layperson’s explanation of the factual basis for
 3 each of the elements of the claim against SPCP. Compare id. at 7-9 with infra II &
 4 III.B.
 5          For the same reasons that the Court previously found her an adequate class
 6 representative and appointed her to represent the Class for the claims for the
 7 underlying violations in the 2015 ESOP Transaction, Ms. Gamino is an adequate
 8 class representative for the claim for SPCP’s knowing participation in that
 9 transaction.
10 II.      BACKGROUND
11          Danielle Gamino is a medical coder and a former employee of KPC
12 Healthcare, and a participant in the KPC Healthcare, Inc. Employee Stock
13 Ownership Plan (“the ESOP”). ECF No. 21 ¶ 10. While she has no legal or
14 financial expertise, Ms. Gamino “go[es] online and review[s] everything that’s
15 been uploaded to the court.” Barton Decl. at Ex. 1 (“Gamino Dep.”) at 234:8-10. In
16 addition to the documents that her lawyers send before filing, she “check[s] every
17 couple of days to see if something new” has been filed on the court’s docket. Id. at
18 234:18-19; 235: 23-235: 5; ECF No. 166-1 at ¶ 3. Specifically, as to SPCP, she has
19 read the complaint, the motion to dismiss briefing and the briefing on “combining
20 the cases.” Id. at 235:5-12. She read the SPCP complaint before it was filed “to
21 make sure [she] agreed with what was said.” Id. at 246:16-22. She also explained
22 what she had done in the case that made her an adequate class representative: “I’ve
23 asked questions, I’ve been participating, I’ve been reviewing any documents that
24 I’ve been provided and that have been made available on line” and “I’ve done my
25 best to ask questions and educate myself as much as I can and I continue to do
26 that.” Id. at 241:11-242:7. She has now appeared for depositions twice and has
27 responded to Defendants’ discovery requests. ECF No. 133-2 at ¶ 2. She is aware
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 1 of her duties of a class representative, ECF No. 133-2 at ¶ 3, ECF No. 133-3.
 2         At her prior deposition, she explained the essence of the claims as follows:
 3 “Chaudhuri sold his stock at an increased value to the ESOP,” that “Alerus caused
 4 the ESOP to buy” the stock at that inflated value, and that Chaudhuri should have
 5 sold the stock “at a fair value.” Gamino, 2021 WL 7081190, at *6. She reiterated
 6 that at her continued deposition. Gamino Dep. at 219:19-21, 237:6-15. She also
 7 correctly explained her claim against SPCP: “Silver Point knowingly participated
 8 in a transaction that violated ERISA,” namely “the transaction involving the
 9 ESOP.” Id. at 223:9-14. She articulated the basis for SPCP’s knowledge: “Because
10 the value of the company from the year prior to 2015 was significantly different,”
11 and “that price difference should have been a red flag.” Id. at 223:23-224:9. She
12 explained that SPCP “benefitted from the [ESOP] transaction.” Id. at 224:15-19.
13 She described what SPCP received in the ESOP Transaction: a “promissory note,”
14 “warrants,” and “cash.” Id. at 219:1-5. From discovery she read, she knew that
15 SPCP had admitted it “do[es] still have some of the things they received in relation
16 to that transaction.” Id. at 227:11-15. In short, Ms. Gamino was able to recite the
17 facts that supported each of the elements of the claim against SPCP. See Gamino,
18 2022 WL 336469, at *3-4.
19 III.    ARGUMENT
20
           A.    The Standard for Knowledge Required of a Class Representative
21               is Low, Particularly in a Complex Case.
22         SPCP ignores the authorities cited in Plaintiff’s opening brief and the basic
23 principles about the knowledge required of a proposed class representative. ECF
24 No. 230 (“Pl. Mem.”) at 24. As this Court explained in appointing Ms. Gamino as
25 the class representative over the objection of Alerus Financial, N.A., the “threshold
26 of knowledge required to qualify a class representative is low.” Pl. Mem. at 24
27
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 1 (quoting Gamino, 2021 WL 7081190, at *5 (quoting Moeller v. Taco Bell Corp.,
 2 220 F.R.D. 604, 611 (N.D. Cal. 2004)). “This principle is especially germane “in a
 3 complex ERISA case such as this one, where the alleged violations are inseparable
 4 from the technicalities of securities transactions and corporate valuation.” Id.
 5 (quoting Gamino, 2021 WL 7081190, at *5 and other cases from this District and
 6 Circuit). Illustrating the low bar for knowledge, another Court in this District found
 7 that plaintiffs who admitted that they “did not understand ‘99%’ of the complaint,’
 8 and testified that they had a “complete lack of knowledge about even the most
 9 rudimentary issues in this case” had sufficient knowledge because they understood
10 that they allegations were that “defendants' conduct caused them to pay excessive
11 fees and caused the plans that they participated in to lose money.” In re Northrop
12 Grumman Corp. ERISA Litig., No. CV 06-06213 MMM JCX, 2011 WL 3505264,
13 at *14 (C.D. Cal. Mar. 29, 2011) (certifying ERISA claims).
14         Like many other courts in this Circuit, the Northrop court relied in part on
15 the Supreme Court’s decision in Surowitz v. Hilton Hotels Corporation 383 U.S.
16 363, 366 (1966). Id.; see Mulderrig v. Amyris, Inc., No. 4:19-CV-1765-YGR, 2021
17 WL 5832786, at *5 (N.D. Cal. Dec. 8, 2021) (relying on Surowitz to find class
18 representative who could not remember “particulars” including details of his
19 involvement in the litigation or what materials he had reviewed, but “sufficiently
20 expressed a general understanding of the litigation” was adequate); Stern v.
21 DoCircle, Inc., No. SACV 12-2005 AG JPRX, 2014 WL 486262, at *5 (C.D. Cal.
22 Jan. 29, 2014) (relying on Surowitz to find class representative was adequate);
23 Marshall v. Northrop Grumman Corp., CV 16-06794-AB (JCX), 2017 WL
24 6888281, at *8 (C.D. Cal. Nov. 2, 2017) (relying on Surowitz to reject defendants’
25 argument that “exceptional ignorance of their claims proves them inadequate
26 representatives of a class”). The plaintiff in Surowitz was “a Polish immigrant with
27 a very limited English vocabulary and practically no formal education,” and who
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 1 “by reason of frugality” had “saved enough money to buy some thousands of
 2 dollars worth of stock.” Surowitz, 383 U.S. at 369. She filed a shareholder
 3 derivative action under the-then operative version of Rule 23. Id. at 366. The
 4 Surowitz defendants argued and the district court held that she was not a proper
 5 plaintiff because during examination, “she did not understand the complaint…
 6 could not explain the statements made in the complaint… did not know any of the
 7 defendants by name… did not know the nature of their alleged misconduct,” and
 8 had “merely relied on what her son-in-law”—who was her lawyer—"had explained
 9 to her about the facts in the case.” Id. at 366. The Supreme Court reversed and
10 held under Rule 23, it was error for the lower court to hold that “a woman like
11 [plaintiff], who is uneducated generally and illiterate in economic matters, could
12 never under any circumstances” bring such a derivative suit. Id. at 372.
13         These cases, as well as this Court’s prior decision, illustrate the low
14 threshold for the adequacy of a class representative’s knowledge particularly in
15 complex claims such as this one, which often involves plan participants who do not
16 have financial or legal sophistication and need legal assistance. As SPCP’s own
17 case explains, the correct analysis is not “[w]hether ... the class representative is
18 familiar with the specifics of the complaint,” but is instead directed at “the more
19 critical question of whether that individual will adequately represent the claims of
20 the class by devoting time and effort to the lawsuit.” Ramos v. Banner Health, 325
21 F.R.D. 382, 394 (D. Colo. 2018). Ms. Gamino readily meets that standard.
22
           B.     Danielle Gamino is More Than An Adequate Class
23                Representative.
24         This Court’s prior conclusion that Ms. Gamino had sufficiently “articulated
25 an understanding of this dispute and her complaint” applies equally to the claim
26 against SPCP. Gamino, 2021 WL 7081190, at *6. Relying on similar arguments
27
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 1 made by Alerus that were rejected by this Court, SPCP claims that Ms. Gamino
 2 does not have the “requisite knowledge or understanding of SPCP’s role” or the
 3 “gravamen” of her claim against SPCP. Opp. at 7-8.
 4         SPCP suggests there is some unexplained deficiency because Ms. Gamino
 5 had not heard of SPCP when the original complaint in the KPC Action was filed in
 6 2020. Opp. at 8. But KPC did not mention SPCP’s role when its CEO told
 7 employees about the ESOP Transaction. Gamino Dep. at 244:23-245:2. SPCP’s
 8 role in the ESOP Transaction was discovered by Plaintiff’s counsel only through
 9 discovery. ECF No. 152-2 at 1-2. When Plaintiff’s counsel learned about SPCP’s
10 involvement, they provided Ms. Gamino “with information about SPCP.” Gamino
11 Dep. at 215:4-10, 216:10-13. In addition to what her attorneys provided her, Ms.
12 Gamino attempted to do some research “independent of counsel” by performing a
13 “Google search.” Id. at 216:4-9. She undertook that research “[b]ecause [she]
14 wanted to see for [her]self [and] wanted more information on it.” Id. at 217: 9-12.
15 As a result of that research, she understood that SPCP was “a financial company”
16 that “provides financing for companies.” Id. at 217:13-16. That is consistent with
17 the limited information on its website: https://www.silverpointcapital.com/home.
18         SPCP implies that Ms. Gamino’s description of SPCP’s role in the ESOP
19 Transaction as “provid[ing] financing” is wrong. SPCP Opp. at 8. But this is
20 accurate in three respects. First, the Complaint alleges that SPCP partially funded
21 Dr. Chaudhuri’s acquisition of 100% of the stock of Integrated Healthcare
22 Holdings, Inc., KPC’s predecessor company. Am. Compl. ¶ 126. This is same
23 stock that Dr. Chaudhuri liquidated a year later at an inflated price through the
24 2015 ESOP Transaction. Id. ¶¶ 72, 87. Second, as part of the ESOP Transaction,
25 SPCP received a promissory note, which by definition is a loan and therefore
26 provides financing. Id. ¶ 73. Finally, the issuance of warrants is a typical
27 component of “mezzanine debt financing.” In re Infinity Bus. Grp., Inc., 612 B.R.
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 1 76, 110 (Bankr. D.S.C. 2019) (citing Benjamin W. Baldwin, A Primer on
 2 Mezzanine Finance to explain that “[m]ezzanine debt financing typically includes
 3 covenants and stock options or warrants, which would permit the conversion of the
 4 debt into an equity ownership of the borrowing company for the lender”), aff’d 628
 5 B.R. 213 (D.S.C. 2021). That the 2015 ESOP Transaction also produced a liquidity
 6 event for SPCP (and Dr. Chaudhuri) does not make the description of SPCP’s role
 7 as providing financing incorrect.
 8         SPCP asserts that Ms. Gamino “articulated no basis on which to allege
 9 SPCP’s purported liability in this case.” Opp. at 10. But SPCP simply ignores the
10 relevant portion of her testimony where she explained the basis of SPCP’s liability:
11         Q:     What do you understand your claims against Silver Point
12         Capital to be in this case?
13         A:     That Silver Point knowingly participated in a transaction that
14         violated ERISA.
15         Q:     Which transaction would that be?
16         A:     The transaction involving the ESOP.
17 Gamino Dep. at 223:9-14. Nor was Ms. Gamino parroting information as
18 she was able to explain the basis for their liability:
19         Q:     And how did Silverpoint knowingly participate in that financial
20         transaction?
21         A:     Because the value of the company from the year prior to 2015
22         was significantly different and had they – they did their due diligence
23         and that should have been a red flag.
24 Gamino Dep. at 223:23-224:3. She explained that “they” referred to SPCP and the
25 “price difference should have been a red flag.” Id. at 224:6-9. She also explained
26 that the price difference should have been a “red flag” because “the value of the
27 company from 2015 and the year prior” was “more than a 400% value difference.”
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 1 Id. at 226:8-21. That is similar to this Court’s description of the basis for the claim
 2 against SPCP. Gamino, 2022 WL 336469, at *2.
 3         SPCP asserts that Ms. Gamino “did not understand SPCP’s purported role in
 4 the 2015 ESOP Transaction.” Opp. at 8. But SPCP ignores that she repeatedly
 5 testified that SPCP “benefited from the ESOP transaction” by “getting the
 6 promissory note and the warrants [and] the cash.” Gamino Dep. at 224:20-25.
 7         Q:    … What did Silver Point Capital receive in return for providing
 8         financing to Dr. Chaudhuri?
 9         A:    It’s my understanding that they – there was – they received a
10         promissory note, they received warrants and cash in the transaction….
11 Id. at 218:23-219:5. That accurately describes SPCP’s role. See Gamino, 2022 WL
12 336469, at *1 (explaining that SPCP received “cash, a promissory note,” a new
13 warrant and QAF rights “as part of the ESOP Transaction”).
14         SPCP argues that Ms. Gamino did “not know what the current relationship is
15 between KPC and SPCP.” Opp. at 9. But she did know that SPCP “still ha[s] some
16 of the things that they received in relation to [the ESOP] transaction.” Gamino
17 Dep. at 227:11-15. Her understanding was correct based on SPCP’s admissions.
18 Barton Decl. at Ex. 2, Nos. 4, 7, 8.
19         SPCP argues that a typographical error made by Plaintiff’s counsel – not
20 Plaintiff – in the initial Complaint against SPCP demonstrates that Ms. Gamino is
21 an inadequate class representative. Opp. at 10. The original complaint against
22 SPCP incorrectly stated in one paragraph that the ESOP, rather than KPC, had
23 purchased warrants from SPCP as part of the 2015 ESOP Transaction. SPCP ECF
24 No. 1 at ¶ 119. This was obviously an error because the proposed amended
25 complaint that Plaintiff initially sought to file in the KPC Action to add SPCP as a
26 defendant correctly alleged that SPCP sold its “warrants to KPC as part of the 2015
27 ESOP Transaction.” KPC ECF No. 152-1 ¶ 122. When the error in the original
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 1 SPCP complaint was brought to the attention of Plaintiff’s counsel, it was promptly
 2 corrected (even before SPCP filed any response). SPCP ECF No. 21 at ¶ 73. When
 3 asked about that error in the original SPCP complaint at her deposition, Ms.
 4 Gamino testified that she was “aware that [her] lawyers made a mistake” in the
 5 original SPCP complaint “and they had to correct it” by filing an amended
 6 complaint. Gamino Dep. at 240:9-22. Indeed, Plaintiff’s counsel made Gamino
 7 aware of the error and the need to correct it. Gamino Dep. at 240:23-25.
 8 Nonetheless, SPCP asserts that “she did not catch the mistake” because she “lacks
 9 a basic understanding of SPCP’s purported role in the 2015 ESOP transaction.”
10 Opp. at 10. But the fact that Plaintiff did not catch her counsel’s error in a single
11 paragraph of a 31-page, 123-paragraph pleading does not establish that a plaintiff
12 is inadequate. See Simon v. World Omni Leasing, Inc., 146 F.R.D. 197, 202 (S.D.
13 Ala. 1992) (rejecting similar argument). As even capable attorneys “make
14 mistakes,” courts do not penalize clients for “an inadvertent filing error” that did
15 not impact the other side and was promptly corrected. See Rafferty v. Keypoint
16 Gov’t Sols., Inc., 4:16-CV-00210-DCN, 2020 WL 7038952, at *9 (D. Idaho Nov.
17 30, 2020) (refusing to penalize defendant for mistake by defendant’s counsel
18 although defendant “should have caught its error”).
19         SPCP also suggests that Ms. Gamino is somehow inadequate because what
20 she knows about SPCP and its involvement in the ESOP transaction comes from
21 her lawyers and reading the complaint. Opp. at 9, 10. None of SPCP’s cases
22 suggest that the class representative must review the documents produced in
23 discovery. In this complex case, more than 200,000 pages of documents have been
24 produced in this matter. Gamino v. KPC Healthcare Holdings, Inc., No. 521-CV-
25 01466SBSHKX, 2022 WL 601047, at *5 (C.D. Cal. Feb. 28, 2022).1 Ms. Gamino
26
    Ms. Gamino testified that her counsel told her “that if I wanted to see anything”
     1

27 produced in discovery “that I could.” Gamino Dep. at 236:9-18.
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 1 is not required personally master the factual record nor is she required to develop
 2 the financial and legal fluency to personally interpret the transaction documents
 3 that SPCP executed as part of the 2015 ESOP Transaction. See Gamino, 2021 WL
 4 7081190, at *6.2
 5         In short, Ms. Gamino demonstrated an understanding not only of the
 6 gravamen of the litigation as a whole, but the specific nature of and basis for her
 7 claims against SPCP.
 8         C.    SPCP’s Cases Do Not Suggest that Ms. Gamino is Inadequate
 9         SPCP cites numerous cases that do not, in fact, support its argument. Opp. at
10 3-7. In a number of the cases cited by SPCP, the court either granted class
11 certification or found that plaintiff was adequate. E.g. Algarin v. Maybelline, LLC,
12 300 F.R.D. 444, 456 (S.D. Cal. 2014) (denying class certification but finding
13 plaintiffs were adequate); In re Tableware Antitrust Litig., 241 F.R.D. 644, 653
14 (N.D. Cal. 2007) (certifying class); In re Storage Tech. Corp. Secs. Litig., 113
15 F.R.D. 113, 119 (D. Col. 1986) (finding plaintiffs sufficiently knowledgeable and
16 certifying class); see also Doninger v. Pac. N.W. Bell, Inc., 564 F.2d 1304, 1312
17 (9th Cir. 1977) (affirming denial of class certification but finding there was
18 “nothing to suggest that” plaintiffs would not “adequately [] prosecute the case”).3
19 In other cases, the class was not certified or plaintiff was inadequate for reasons
20
21
     2
22   SPCP criticizes Ms. Gamino for not having read the Warrant Purchase Agreement
   or being able to describe its terms with the clarity of a corporate lawyer. Opp. at 9.
23 But this is no evidence of inadequacy. Rankin v. Rots, 220 F.R.D. 511, 521 (E.D.
24 Mich. 2004) (holding in ERISA class action that it was “sufficient” for plaintiff to
   understand “that she had a retirement plan,” that “defendants failed to protect the
25 money in the Plan,” and she had an “obligation to assist her attorneys and testify”).
26 3
     SPCP’s remaining Ninth Circuit and Supreme Court authority do not address the
27 sufficiency of knowledge by a class representative.
28
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 1 other than lack of knowledge. E.g., Alberghetti v. Corbis Corp., 263 F.R.D. 571,
 2 578 (C.D. Cal. 2010) (finding plaintiffs inadequate because they were “all in
 3 conflict” about the relief and the scope of the relief); Sanchez v. Wal Mart Stores,
 4 Inc., CIV 206CV02573JAMKJM, 2009 WL 1514435, at *3 (E.D. Cal. May 28,
 5 2009) (plaintiff was inadequate as a result of a “strategic claim-splitting decision
 6 [that] creates a conflict between Plaintiff's interests and those of the putative
 7 class”).
 8         In the cases cited by SPCP where a court found that a plaintiff’s knowledge
 9 was insufficient, the plaintiff knew “essentially nothing about the case” or the
10 facts. E.g. In re Facebook Inc. PPC Advertising Litig., 282 F.R.D. 446, 454 (N.D.
11 Cal. 2012) (plaintiff “testified in his deposition that he knows essentially nothing
12 about the case” and ‘would defer to counsel in prosecuting this action”); Lee v. Pep
13 Boys, No. 12-CV-05064, 2015 WL 9480475, at *11 (N.D. Cal. Dec. 23, 2015)
14 (plaintiff “never read the complaint” or “any of the pleadings,” was “unable to
15 identify the defendants” and was “ignorant of the procedural aspects of class action
16 litigation”); In re Quarterdeck Office Sys., Inc. Secs. Litig., No. 92-cv-3970-
17 DWW-GHKx, 1993 WL 623310, at *6 (C.D. Cal. Sept. 30, 1993) (plaintiffs did
18 not participate in the litigation, could not identify their own counsel and “[n]either
19 seem to even care” about the litigation); Burkhalter Travel Agency v. MacFarms
20 Int’l, Inc., 141 F.R.D. 144, 154 (N.D. Cal. 1991) (antitrust plaintiff lacked a “basic
21 understanding” because he did not know who the defendants were, or the class,
22 thought some of the defendants were in the class and did not know the “price
23 policies at his own firm”).
24         SPCP primarily relies on an out of circuit case, Ramos v. Banner Health,
25 325 F.R.D. 382 (D. Colo. 2018). Opp at 11-12. But that case does not support
26 SPCP’s position. The Ramos plaintiffs alleged that defendants “breached their
27 fiduciary duties” under ERISA by not conducting competitive bidding for
28
     REPLY ISO CLASS CERT                                                                 15
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 1 recordkeeping services, which resulted in the recordkeeper receiving “uncapped,
 2 asset-based revenue sharing” and the plan had too many investment options,
 3 including mutual funds with poor performance and excessive fees. Ramos, 325
 4 F.R.D. at 387. Defendants were the named fiduciaries of the plan and a third-party
 5 investment consultant. Id. As to the named fiduciaries, the Ramos court found the
 6 following testimony evidenced adequate understanding of the claims against the
 7 named fiduciaries in light of their “legal and factual complexity”:
 8         Q. Could you please explain to me what your claims are in this case?
 9         A. Excessive fees were charged or paid by the administration. And then
10         the stock—I shouldn't say ‘stock,’ I guess, because there’s more than
11         one. But the options that were provided to us where not always in the
12         best interest of the participants.
13         Q. Okay. Anything else?
14         A. I'm trying to see how they're worded. There was, like, a failure to
15         monitor or have oversight of the responsibilities to us, the fiduciary
16         responsibilities.
17         ***
18         Q. Okay. Excessive fees charged or paid by the administration. What
19         do you mean by that?
20         A. That there were—that the fees that they paid were excessive and that
21         there [sic] could have been lower.
22 Id. at 395 n.7. By contrast, the Ramos plaintiffs had “essentially no knowledge of
23 [the consultant’s] role or breaches of duty” nor could they even “paraphrase”” the
24 claims, and could “offer no description of what services [he] provided,” and could
25 not describe “what conduct [he] allegedly engaged in.” Ramos, 325 F.R.D. at 396-
26 97. Ms. Gamino has demonstrated an understanding of her claims that exceeded
27 what the Ramos court found was adequate -- rote recitals of breached “fiduciary
28
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 1 responsibilities” or that a price was “excessive.” Compare id. at 395 n.7 with supra
 2 II & III.B. Indeed, Ms. Gamino was able to explain not only the legal theory that
 3 SPCP knowingly participated in a transaction that violated ERISA” but the factual
 4 basis for each of the elements: why SPCP should have known (the 400% price
 5 difference), what SPCP received in the ESOP Transaction (“the promissory note
 6 and the warrants, the cash”) and that SPCP still retained the proceeds. Supra II &
 7 III.B. Thus, Ms. Gamino more than meets the standards required by SPCP’s own
 8 cases.
 9 IV.      CONCLUSION
10          For the foregoing reasons, the Court should certify Plaintiff’s claim against
11 SPCP as a class action, appoint Ms. Gamino as the class representative and her
12 counsel as Class Counsel.
13 Dated: April 1, 2022                     Respectfully submitted,
14
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 1                           CERTIFICATE OF SERVICE
 2        I, Ming Siegel, hereby certify that on April 1, 2022, a copy of the
 3 PLAINTIFF’S REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR CLASS
 4 CERTIFICATION was served on the counsel of record listed below via the
 5 CM/ECF system.
 6        Dated this 1st day of April, 2022.
 7
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